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'
                                                                                                    EXHIBIT P
            Message

            From:          Stinsa, Tony [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                           (FYDI BO HF 23SPDLT)/CN =RE Cl Pl E NTS/CN =A 1D85AS 7 C lE 14 9 E9 BDFA0D07CB2 7F 2 CB-U020863]
            Sent:          1/10/2022 1:25:53 PM
            To:            Brock M Frederick (Brock.Frederick@Navistar.com) [Brock.Frederick@Navistar.com]
            Subject:       FW: Central and Bendix



             Stinsa, Tony has shared a OneDrive for Business fi!e with you. To view it, ckk the link below.

             � Central Trades Worksheet Revised UTO Values 12-15-21.xlsx


            Are you available at 1:30 to talk Central Transport?

            Tony Stinsa
            331.332.2579 (desk)
            630.277.0356 (cell)

            From: Adams, Josh <Joshua.Adams@Navistar.com>
            Sent: Monday, January 10, 2022 12:59 PM
            To: Stinsa, Tony <Tony.Stinsa@Navistar.com>
            Cc: Walker, Michael J <Mike.Walker@Navistar.com>
            Subject: Re: Central and Bendix

            Tony and Mike-- see attached for my walkthrough. Bottom line up front, I think the UTO can,
            after commission, make ~$3M additional profit by taking the Central trucks.

            Key assumptions
            1.         Used truck market pricing movement-- if there is downside, it is probably here
            2.         70% wholesale, 30% retail (do we have customers to move 100 of these every month)
            3.      90 day turns we sell the units on average within 90 days of receipt (my model shows
            sales in the same month, but I adjusted the revenue numbers assuming 90 days+ price
            depreciation) is this possible keeping in mind we have to do A26 work on a lot of these
            4.     Recon and freight spend is $10k. I am assuming we spend a lot per unit covering freight
            and reconditioning these to a high level. If there is upside in my model, it is here.


            Will explain to you guys on my call. I am sending this to Sim nick to make sure new truck
            numbers and OA are still correct.

            Thanks,
                                                                                                                   A 1C EXHIBIT /&J./.
            Josh                                                                                                   Deponent,._____
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                                                                                                                   Date
                                                                                                                    WW�RODUCTS.COM




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            From: Stinsa, Tony <To_I}Y:.~!i nsi!.@.N <tY!~ta ~.:.£9..~.>
            Sent: Monday, January 10, 202212:07 PM
            To: Adams, Josh <Joshua.Adams (Ci) Navistar.com>
            Cc: Walker, Michael J <Mike.Walke r(a) Navista r.com>
            Subject: RE: Central and Bendix

            I was going to send him a response looking like this. Let me know your thoughts:



            Mark,

            I' ve thought about this a lot over the weekend and here are some thoughts and considerations:

            1.      Today, we could probably sell the units ad be ok at a customer value in excess of the "show"
            value to the customer at this point ($0 OA). So the early part of the package could be at used truck
            gross margin even at the show values. The big question is when the decline will come (how long will the
            market remain at these elevated levels), and what is the shape of decline when it comes.
            2.      There could be some strategic value in us getting the units and reselling them. Of course it gives
            us units to exercise our substantial used truck infrastructure. But also:
            a.                 We have a mail customer we'd like to start an A26 trial with, but we don't have a lot of
            trucks to do it with
            b.                These could be ideal for the LTL customer who has 6-7 year old trucks and we might be
            able to swap that kind of customer out with "newer'' trucks as a first step towards conquesting that
            customer with new lnt'l's next time around
            3.       This is a customer who did not want us to change out connecting rods. They happe n to have
            over 230 units having failed and a projected failures of nearly 500 (31%). So we will want a shot at
            changing out connecting rods on suspect units before they hit the secondary market.
            4.       Giving a no-trade credit of $10k could be viewed as a precedent for future transactions with the
            customer. In that sense, it feels high
            5.       In the timeframe these units will be hitting the market, the 1-year free warranty will not be in
            effect (not sure if this is an assumption that you or the customer had, but we intend to replace t he offer
            ~ith something different and wean the market off of "free" warranties.


            Ail of that said, I' d lean towards having UTO provide a $10k better value to New Truck on the first group
            of 600 and see what we can do with them.

            Tony Stinsa
            331.332.2579 (desk)
            630.277.0356 (cell)


            From: Belisle, Mark L <.!Yia r~.~~.!l~J.f_@.~J!.vist<!f.!..C<>rl.l>
            Sent: Friday, January 7, 2022 10:45 AM
            To: Martin, Paul E <Paui.M art in@Navistar.co m>; Ciesielski, Chester A <Chet.Ciesielski@Navista r.com>;
            Baumann, Friedrich <Fri!'l9ri ch. Bau.m <!fl n @. Navist'!!'.&Q.Q!>
            Cc: Simnick, Dan J <Danie i.Sirn nick@ Navistar.com>; Carmichael, Sean
            <Sean.Carmicha~L@J19.1Ji~tar.com>; Stinsa, Tony <Tony.St insa@Ni!.vist aJ ,'"Qm,>; Podewell, Kerri L




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        <!S_erri.P_QSlevyelh,1ilNavistar.com>; Belisle, Mark L <Mark.Belisle@Navistar.com>
        Subject: Central and Bendix
        Importance: High

        Gentlemen we have an opportunity with Central that I believe we need to pursue ASAP.

        As you know Central has agreed to full surcharges.... And unhappily accepted the 600 units instead of
        1100 this year; however, Sean has continued to work with them based on the Bendix situation and
        moving dealers, warranties .....

        Central will take units with the Bendix accommodation package, in either A26 or XlS RH or LT
        configuration (at same price to them and same cost to us). We are building 75 Jan and Feb of this year
        then don't have any scheduled yet for the rest of the year.

        In verbal conversation Sean has floated that we build them 350 a month in March, April and May to get
        them to their 1,100 for the year and they would accept a $10,000 no trade credit on the all the OTB
        units. See below from Dan Simnick for OA.



        updated 0/A avg. on the 205 MY19 RHs and 612 MY18 RHs with the UTO's increased values factored in
        (assuming no other trade timing changes):

        •                                     =
                612 MY18 RHs avg. UTO 0/A $21,093 rounding to $21,100
        •       205 MY19 RHs avg. UTO 0/A = $19,777 rounding to $20,000



        We can turn this from a $7000-$8000 VM (after dust settles on increased costs offset by surcharges)
        deal to a $17,000 or $18,000 VM per unit deal or approx $11m increase.

        Paul I believe we can actually slip these into produciton (based on current supplier ability) as
        incremental produciton for 2022.

        Sean and I want to pursue this option ASAP.

        Thank you




        Mark Belisle
        Group Vice President Dealer Sales and Operations

        Navistar, Inc.
        2701 Navistar Drive
        Lisle, IL. 60532

        M: +1 (331) 444-4338




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